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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                )
                                        )
v.                                      )       CASE NO. 1:22-CR-00086-BAH
                                        )       CHIEF JUDGE BERYL A. HOWELL
MICHAEL LEE ROCHE                       )

     ESTIMATED SENTENCING GUIDELINES AND SENTENCING RANGES

       Comes now Michael Lee Roche, by and through counsel, Paul Bruno, and hereby

submits his estimated sentencing guidelines and sentencing range calculations

pursuant to the Court’s February 28, 2023, Minute Order.

        Both the government and Mr. Roche anticipate the Criminal History Category

in this case to be I. Mr. Roche understands that the Court has the final say as to

what Criminal History Category is applicable in this case.

        Mr. Roche anticipates receiving acceptance of responsibility pursuant to

U.S.S.G. §3E1.1(a) & (b). Mr. Roche understands that the Court has the final say as

to whether that guideline section will apply.



               Count One: Obstruction of an Official Proceeding
                     in violation of 18 U.S.C. §1512(c)(2).

        U.S.S.G. §2J1.2(a)       Base Offense Level                      14

        The government believes that a three-point enhancement pursuant to U.S.S.G.

§2J1.2(b)(2) for “substantial interference with the administration of justice” applies,

resulting in an Adjusted Offense Level of 17.         Mr. Roche disagrees with the




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government’s position, but understands that the Court has the final say as to whether

that enhancement will apply.

      Guideline Range with the §2J1.2(b)(2) enhancement:          (24 to 30 months)

      Guideline Range without the §2J1.2(b)(2) enhancement:       (15 to 21 months)

If a reduction for acceptance of responsibility is applied by the Court, the guidelines

ranges become, respectively, (15 to 21 months) or (10-16 months).



Count Two: Entering and Remaining in a Restricted Building or Grounds,
                 in violation of 18 U.S.C. §1752(a)(1).

      U.S.S.G. §2B2.3(a)                Base Offense Level                      4
      U.S.S.G. §2B2.3(b)(1)(A)(vii)     Restricted Building or Grounds         +2

      Total Offense Level:                                                      6

      The government believes that the cross-reference provision pursuant to

U.S.S.G. §2B2.3(c)(1) applies. Mr. Roche disagrees with the government’s position,

but understands that the Court has the final say as to whether that enhancement

will apply.

      Guideline Range without applying the cross-reference:       (0 to 6 months)

      Guideline Range with the cross-reference:      (24 to 30 months or 15 to 21
                                                     months as noted above)

If a reduction for acceptance of responsibility is applied by the Court, the guidelines

ranges become either 0 to 6 months, 15 to 21 months, or 10-16 months.




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Count Three: Disorderly and Disruptive Conduct in a Restricted Building
            or Grounds, in violation of 18 U.S.C. §1752(a)(2).

      U.S.S.G. §2B2.3(a)               Base Offense Level                     4
      U.S.S.G. §2B2.3(b)(1)(A)(vii)    Restricted Building or Grounds        +2

      Total Offense Level:                                                     6

      The government believes that U.S.S.G. §2A2.4 applies in this case. Mr. Roche

disagrees with the government’s position, but understands that the Court has the

final say as to which guideline section applies.      If the Court agrees with the

government’s position, the government’s guideline range for this count is correct.

      Counts One, Two, and Three group under U.S.S.G. §3D1.2.



      Counts Four, Five, and Six: The Sentencing Guidelines do not apply to

Class B misdemeanors. However, since these offenses are Class B misdemeanors,

they do carry a sentence of up to six months imprisonment.

                                       Respectfully submitted,



                                       s/ Paul Bruno
                                       Paul Bruno, B.P.R. #17275
                                       Attorney for Michael Lee Roche
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                         CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing Estimated
Sentencing Guidelines/Sentencing Ranges Calculations has been electronically
delivered to Christopher Amore, Assistant United States Attorney, DOJ-USAO,
District of New Jersey, 970 Broad Street, Suite 700, Newark, New Jersey 07102, on
this the 3rd day of March, 2023.

                                     s/ Paul Bruno
                                     Paul Bruno




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